                                                                                 Case 2:15-cv-00799-KJM-DB Document 458 Filed 06/21/24 Page 1 of 8


                                                                             1   ARNALL GOLDEN GREGORY LLP
                                                                                 Richard T. Collins (Bar No. 166577)
                                                                             2   rich.collins@agg.com
                                                                                 2100 Pennsylvania Avenue, NW
                                                                             3   Suite 350S
                                                                                 Washington, D.C. 20037
                                                                             4   Telephone: (202) 677-4030

                                                                             5   Attorney for Defendants:

                                                                             6   ASPEN PARK HOLDINGS, LLC; BENT TREE
                                                                                 APARTMENTS, LLC; CAMELOT LAKE HOLDINGS,
                                                                             7   LLC; CALIFORNIA PLACE APARTMENTS, LLC;
                                                                                 CANYON CLUB HOLDINGS, LLC; CHESAPEAKE
                                                                             8   APARTMENT HOLDINGS, LLC; COURTYARD AT
                                                                                 CENTRAL PARK APARTMENTS, LLC; CREEKSIDE
                                                                             9   HOLDINGS, LTD; HERITAGE PARK APARTMENTS,
                                                                                 LP; PEPPERTREE APARTMENT HOLDINGS, LP;
                                                                            10   RIVER OAKS HOLDINGS, LLC; SHADOW WAY
                                                                                 APARTMENTS, LP; WASATCH ADVANTAGE GROUP,
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                                                                            11   LLC; WASATCH PREMIER PROPERTIES, LLC;
                               2100 PENNSYLVANIA AV ENUE , NW, SUITE 350S




                                                                                 WASATCH QUAIL RUN GP, LLC; WASATCH POOL
                                                                            12   HOLDINGS, LLC; WASATCH POOL HOLDINGS III,
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                                                                                 LLC
                                        TELEPHONE: (202) 677.4030
                                          WASHINGTON, DC 20037




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                                                                                                                UNITED STATES DISTRICT COURT
                                                                            14                                 EASTERN DISTRICT OF CALIFORNIA
                                                                            15                                      SACRAMENTO DIVISION

                                                                            16   UNITED STATES OF AMERICA, ex rel.                    Case No.: 2:15-CV-00799-KJM-DB
                                                                                 DENIKA TERRY, ROY HUSKEY III, and
                                                                            17   TAMERA LIVINGSTON, and each of them for              CLASS ACTION
                                                                                 themselves individually, and for all other persons
                                                                            18   similarly situated and on behalf of the UNITED       OWNER AND NON-OWNER
                                                                                 STATES OF AMERICA                                    DEFENDANTS’ OPPOSITION TO
                                                                            19                                                        PLAINTIFFS’ MOTION IN LIMINE NO. 4
                                                                                        Plaintiffs/Relators,                          (ECF 418) TO EXCLUDE EVIDENCE OF
                                                                            20                                                        GOVERNMENT NON-INTERVENTION
                                                                                 vs.
                                                                            21                                                        Date: July 12, 2024
                                                                                 WASATCH ADVANTAGE GROUP, LLC,                        Time: 10:00 AM
                                                                            22   WASATCH PROPERTY MANAGEMENT,                         Dept: Courtroom 3, 15th Floor
                                                                                 INC., WASATCH POOL HOLDINGS, LLC,                    Before: Hon. Kimberly J. Mueller
                                                                            23   CHESAPEAKE APARTMENT HOLDINGS,
                                                                                 LLC, LOGAN PARK APARTMENTS, LLC,                     Trial Date:   July 30, 2024
                                                                            24   LOGAN PARK APARTMENTS, LP, ASPEN
                                                                                 PARK HOLDINGS, LLC, BELLWOOD
                                                                            25   JERRON HOLDINGS, LLC, BELLWOOD
                                                                                 JERRON APARTMENTS, LP, BENT TREE
                                                                            26   APARTMENTS, LLC, CALIFORNIA PLACE
                                                                                 APARTMENTS, LLC, CAMELOT LAKES
                                                                            27   HOLDINGS, LLC, CANYON CLUB
                                                                                 HOLDINGS, LLC, COURTYARD AT
                                                                            28   CENTRAL PARK APARTMENTS, LLC,
                                                                                 CREEKSIDE HOLDINGS, LTD, HAYWARD
                                                                                 Case 2:15-cv-00799-KJM-DB Document 458 Filed 06/21/24 Page 2 of 8


                                                                             1   SENIOR APARTMENTS, LP, HERITAGE
                                                                                 PARK APARTMENTS, LP, OAK VALLEY
                                                                             2   APARTMENTS, LLC, OAK VALLEY
                                                                                 HOLDINGS, LP, PEPPERTREE APARTMENT
                                                                             3   HOLDINGS, LP, PIEDMONT APARTMENTS,
                                                                                 LP, POINT NATOMAS APARTMENTS, LLC,
                                                                             4   POINT NATOMAS APARTMENTS, LP,
                                                                                 RIVER OAKS HOLDINGS, LLC, SHADOW
                                                                             5   WAY APARTMENTS, LP, SPRING VILLA
                                                                                 APARTMENTS, LP, SUN VALLEY
                                                                             6   HOLDINGS, LTD, VILLAGE GROVE
                                                                                 APARTMENTS, LP, WASATCH QUAIL RUN
                                                                             7   GP, LLC, WASATCH PREMIER
                                                                                 PROPERTIES, LLC, WASATCH POOL
                                                                             8   HOLDINGS III, LLC,
                                                                                 and DOES 1-4,
                                                                             9
                                                                                      Defendants.
                                                                            10
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                                                                            11
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                                                                            12
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                                          WASHINGTON, DC 20037




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                                                                                           OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 4
                                                                                 Case 2:15-cv-00799-KJM-DB Document 458 Filed 06/21/24 Page 3 of 8


                                                                             1   DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 4
                                                                             2           Relators’ Motion in Limine No. 4, ECF 418 (“Ps-MIL 4”), seeks to exclude any mention at
                                                                             3   trial of the Government’s decision not to intervene in this FCA action. Relators argue that any
                                                                             4   evidence or argument related to the Government’s non-intervention in the case, which they contend
                                                                             5   includes statements by DOJ employees regarding the Government’s rationale for declining to
                                                                             6   intervene, is irrelevant to the merits of the claims and would be unfairly prejudicial and confusing
                                                                             7   to the jury.
                                                                             8           Owner and Non-Owner Defendants (“Defendants”) do not oppose Relators’ request to
                                                                             9   exclude evidence regarding the Government’s decision not to intervene in general. However,
                                                                            10   Defendants oppose their request to exclude statements by DOJ employees regarding the
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                                                                            11   Government’s assessment of the merits of the case. These statements are relevant, non-hearsay
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                                                                            12   statements that are probative of Relators’ FCA claims.
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                                                                            13     I.    Argument
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                                                                            14
                                                                                         A. Courts generally find evidence regarding non-intervention irrelevant absent
                                                                            15              additional information on the Government’s reasoning.

                                                                            16           It is true that, as a general principle, courts exclude evidence regarding the Government’s

                                                                            17   decision not to intervene in an FCA action. See, e.g., United States ex rel. Kiro v. Jiaherb, Inc., 2019

                                                                            18   WL 2869186, at *2 (C.D. Cal. July 3, 2019). That is because the Government’s decision not to

                                                                            19   intervene may be driven by any one of “myriad reasons,” including “limited prosecutorial

                                                                            20   resources,” “confidence in the relator’s attorney,” or other reasons unrelated to the merits of the

                                                                            21   claims. See United States ex rel. Chandler v. Cook County, 277 F.3d 969, 974 n.5 (7th Cir. 2002),

                                                                            22   aff’d, 538 U.S. 119 (2003). Accordingly, the Government’s decision not to intervene—standing

                                                                            23   alone—is “irrelevant” within the meaning of Rule 402. See United States ex rel. Raven v. Georgia

                                                                            24   Cancer Specialists I, P.C., 2021 WL 4080863, at *2 (N.D. Ga. Mar. 30, 2021).

                                                                            25           B. The Government’s statements regarding the merits of a case are relevant.
                                                                            26           The situation is different, however, where, as here the Government makes specific

                                                                            27   statements regarding its views on the merits of the case. See United States ex rel. El-Amin v. George

                                                                            28   Washington Univ., 533 F. Supp. 2d 12, 20 (D.D.C. 2008) (evidence of non-intervention not relevant
                                                                                                                                   1
                                                                                                OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 4
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                                                                             1   where “there is no evidence linking the [G]overnment’s nonintervention with its actual motivation
                                                                             2   for doing so”); United States v. Aerojet Rocketdyne Holdings, Inc., 381 F. Supp. 3d 1240, 1248
                                                                             3   (E.D. Cal. 2019) (non-intervention not relevant where “there is no reason believe that the decision
                                                                             4   not to intervene is a comment on the merits of this case”); Scollick ex rel. United States v. Narula,
                                                                             5   2024 WL 2017132, at *5 (D.D.C. May 7, 2024) (nonintervention irrelevant where government may
                                                                             6   have declined because it was “unable to complete its investigation before the intervention period
                                                                             7   expired” (quotations omitted)); see also ECF 412-2 at 75 (Bellows Decl. Exs. 10 (Raymond Dep.
                                                                             8   Exs. 12 (WCDS 1166402)) (DOJ indicated “it did not believe that the [Plaintiff-Relators’] case had
                                                                             9   much merit”).1 In that situation, the issue is not non-intervention itself, but the Government’s views
                                                                            10   on the merits of the claims. See United States ex rel. Ubl v. IIF Data Sols., 650 F.3d 445, 457 (4th
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                                                                            11   Cir. 2011) (cited in Ps-MIL 4 at 2) (admitting evidence of Government’s ongoing relationship with
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                                                                            12   defendant despite FCA suit and noting admission of this evidence was “in no way inconsistent with
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                                                                            13   the exclusion of evidence related to decision not to intervene”). That is why the cases in which
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                                                                            14   courts have excluded evidence regarding the Government’s decision not to intervene do not consider
                                                                            15   specific statements by the Government regarding the merits of a relator’s FCA claims. See, e.g.,
                                                                            16   Kiro, 2019 WL 2869186 at *2 (noting non-intervention “does not mean that the government believes
                                                                            17   the claims are without merit” (quotations omitted)); United States ex rel. Savage v. CH2M Hill
                                                                            18   Plateau Remediation Co., 2021 WL 802125, at *1 (E.D. Wash. Jan. 11, 2021) (same); United States
                                                                            19   ex rel. Feldman v. van Gorp, 2010 WL 2911606, at *2 (S.D.N.Y. July 8, 2010) (noting Government
                                                                            20   “explicitly provided” that its non-intervention decision was “not probative of any matter concerning
                                                                            21   the merits of relator’s claims”).
                                                                            22          Where Government employees or agents make statements regarding the merits of a relator’s
                                                                            23   FCA claims, those statements are unquestionably “relevant” within the meaning of Rule 402. There
                                                                            24   is no ambiguity as to the “myriad reasons” the Government declined to intervene, Chandler, 277
                                                                            25   F.3d at 974 n.5, and the Government’s view of the merits relates to—at the very least—materiality,
                                                                            26
                                                                                 1
                                                                                   Polansky v. Exec. Health Res., Inc., 422 F. Supp. 3d 916, 938 (E.D. Pa. 2019) (finding non-
                                                                            27   intervention relevant when the Government “[goes] even further” and seeks dismissal, thereby
                                                                            28   expressing its “apparent view that Relator’s claims are not worthy”), aff’d in part, vacated in part
                                                                                 sub nom. 17 F.4th 376 (3d Cir. 2021), aff’d sub nom., 599 U.S. 419 (2023).
                                                                                                                                  2
                                                                                               OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 4
                                                                                 Case 2:15-cv-00799-KJM-DB Document 458 Filed 06/21/24 Page 5 of 8


                                                                             1   which is one element of an FCA violation. See, e.g., United States ex rel. Jackson v. DePaul Health
                                                                             2   Sys., 454 F. Supp. 3d 481, 501 n.31 (E.D. Pa. 2020) (decision not to intervene relevant to
                                                                             3   materiality); United States ex rel. Mitchell v. CIT Bank, N.A., 2022 WL 812364, at *11 (E.D. Tex.
                                                                             4   Mar. 16, 2022) (noting “Government’s decision and explanation to deny intervention based on its
                                                                             5   investigation is probative of materiality” (emphasis added)); United States v. Bayada Homes Health
                                                                             6   Care, Inc., 2024 WL 2013892, at *10 (D.N.J. May 7, 2024) (noting “declination of intervention is
                                                                             7   relevant to the materiality argument” but not dispositive).2
                                                                             8          C. The Government’s statements on the merits of a case are not unfairly prejudicial.
                                                                             9          Evidence of the Government’s merits views is also not unfairly prejudicial under Rule 403.
                                                                            10   Although Relators argue that the Government’s decision not to intervene “carr[ies] a high potential
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                                                                            11   to cause prejudice and confusion,” (Ps-MIL 4 at 2), they rely on only a single case, Savage. See
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                                                                            12   2021 WL 802125 at *1. Savage is distinguishable, however. The concern in Savage was that the
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                                                                            13   fact of non-intervention, standing alone, was “irrelevant” and “highly prejudicial in that it could
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                                                                            14   allow the jury to draw the inference that [r]elator’s claim is substantively weak.” Id. (quotations
                                                                            15   omitted). This prejudice arose because non-intervention “does not mean that the government
                                                                            16   believes the claims are without merit.” Id. at *1 (quotations omitted). Here, the issue is not non-
                                                                            17   intervention itself, but statements regarding the merits of Plaintiff-Relators’ claims. Those
                                                                            18   statements do mean—or are at least relevant to the question of whether—“the government believes
                                                                            19   the claims are without merit.” See id. Thus, these statements are not unfairly prejudicial under Rule
                                                                            20   403: To the extent they “allow the jury to draw the inference” that Relators’ claims are
                                                                            21   “substantively weak,” that is only because that inference is appropriate and permissible to draw. See
                                                                            22   id.; United States ex rel. Laymon v. Bombardier Transp. (Holdings) USA, Inc., 656 F. Supp. 2d 540,
                                                                            23   549 (W.D. Pa. 2009) (“[S]imply because this evidence tends to hinder [the relator’s] case while
                                                                            24   perhaps aiding the [d]efendant’s case is not a proper ground for exclusion.”). In any event, to the
                                                                            25   extent there is any unfair prejudice, the Court can issue limiting instructions to guide the jury’s
                                                                            26   consideration of the Government’s statements. See Sidibe v. Sutter Health, 2024 WL 2822733, at
                                                                            27
                                                                                 2
                                                                            28    See also United States ex rel. Hartpence v. Kinetic Concepts, Inc., 44 F.4th 838, 845 (9th Cir.
                                                                                 2022) (materiality element of FCA claim); 31 U.S.C. § 3729(b)(4) (definition of material).
                                                                                                                                 3
                                                                                              OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 4
                                                                                 Case 2:15-cv-00799-KJM-DB Document 458 Filed 06/21/24 Page 6 of 8


                                                                             1   *22 (9th Cir. June 4, 2024) (jury instruction may “cure[] any risk of unfair prejudice or confusion
                                                                             2   of issues”); United States v. Gross, 424 F. Supp. 3d 800, 810 (C.D. Cal. 2019) (unfair prejudice may
                                                                             3   be “ameliorated by proper jury instructions”).
                                                                             4             D. The Government’s statements are non-hearsay opposing party statements.
                                                                             5             Relators also argue that statements from Government employees are inadmissible hearsay.
                                                                             6   (Ps-MIL 4 at 1.) But Fed. R. Evid. 801(d)(2) defines as non-hearsay any “statement offered against
                                                                             7   an opposing party” that was made “by the party,” “by a person whom the party authorized to make
                                                                             8   a statement on the subject,” or “by the party’s agent or employee on a matter within the scope of
                                                                             9   that relationship and while it existed.” Statements Defendants may seek to introduce that were made
                                                                            10   by the Government or its agents are “statements offered against an opposing party.” See Little v.
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                                                                            11   Shell Expl. & Prod. Co., 2017 WL 4742917, at *27 (S.D. Tex. Aug. 18, 2017). As explained in
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                                                                            12   Little:
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                                                                            13
                                                                                            Relators represent the interests of the United States in this action.
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                                                                            14              Therefore, the interviews of the United States’ agents and
                                                                                            employees regarding the United States’ position on the legality of
                                                                            15              [Defendants’ conduct] constitute statements offered against an
                                                                                            opposing party and are not hearsay [under Rule 801(d)(2)].
                                                                            16

                                                                            17   Id; see also United States ex rel. Milam v. Regents of Univ. of Calif., 912 F. Supp. 868, 880 (D. Md.

                                                                            18   1995) (holding that a statement by a government agency constitutes a statement of a party opponent

                                                                            19   in a non-intervened FCA case for purposes of Rule 801(d)(2) because the government is the real

                                                                            20   party in interest); United States ex rel. Saldivar v. Fresenius Med. Care Holdings, Inc., 972 F. Supp.

                                                                            21   2d 1339, 1358 & n.20 (N.D. Ga. 2013) (similar). Accordingly, statements by DOJ, including

                                                                            22   statements regarding its views on the merits on the FCA claims here, are non-hearsay and do not

                                                                            23   need to satisfy any hearsay exception.

                                                                            24             Relators also argue that at least one DOJ statement—described in a summary drafted by

                                                                            25   Wasatch’s Assistant General Counsel Taylor Raymond—falls within multiple levels of hearsay,

                                                                            26   requiring a hearsay exception for each level. (Ps-MIL 4 at 4 (citing ECF 412-2 at 75, 78).) As an

                                                                            27   initial matter, Relators have no basis to claim that the DOJ’s statement was transmitted through

                                                                            28   multiple levels of hearsay. As they acknowledge, Raymond participated in conversations with DOJ
                                                                                                                                   4
                                                                                                OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 4
                                                                                 Case 2:15-cv-00799-KJM-DB Document 458 Filed 06/21/24 Page 7 of 8


                                                                             1   agents—meaning DOJ could have communicated this information to Raymond directly.3 (See Ps-
                                                                             2   MIL 4 at 4.) In any case, there may be other applicable hearsay exceptions that apply to other levels,
                                                                             3   or other avenues to introduce the Government’s statements. For example, the summary itself appears
                                                                             4   to fall within the business records hearsay exception, see Fed. R. Evid. 803(6); U-Haul Int’l, Inc. v.
                                                                             5   Lumbermens Mut. Cas. Co., 576 F.3d 1040, 1043 (9th Cir. 2009), and there may be other witnesses
                                                                             6   who communicated with DOJ directly regarding the Government’s merits views. Accordingly, there
                                                                             7   is no reason to impose a blanket bar on all Government statements regarding the merits at this time.
                                                                             8   Instead, the Court should handle any Government statement Defendants seek to introduce on a case-
                                                                             9   by-case basis. See Quintero v. Nat’l R.R. Passenger Corp., 2022 WL 4093120, at *4 (W.D. Wash.
                                                                            10   Sept. 7, 2022) (reserving decision on motion in limine where plaintiff failed to show evidence
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                                                                            11   inadmissible on all grounds).
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                                                                            12        II.   Conclusion
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                                                                            13              For the reasons set forth above, Plaintiff-Relators’ Motion in Limine No. 4 should be denied
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                                                                            14   in part with respect to statements by the Government regarding the merits of Plaintiff-Relators’ FCA
                                                                            15   claims. The Court should permit such statements because they are relevant non-hearsay statements
                                                                            16   which are probative of the materiality and not unfairly prejudicial.
                                                                            17   //
                                                                            18   //
                                                                            19   //
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                                                                            28    In addition, this information could easily have been transmitted before the Government formally
                                                                                 declined to intervene. See Ps-MIL 4 at 4.
                                                                                                                                     5
                                                                                                  OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 4
                                                                                 Case 2:15-cv-00799-KJM-DB Document 458 Filed 06/21/24 Page 8 of 8


                                                                             1   Dated: June 21, 2024                        ARNALL GOLDEN GREGORY LLP
                                                                             2

                                                                             3                                               By: /s/ Richard T. Collins
                                                                                                                                 Richard T. Collins
                                                                             4                                                   Attorneys for Defendants:
                                                                             5                                                     ASPEN PARK HOLDINGS, LLC; BENT TREE
                                                                                                                                   APARTMENTS, LLC; CAMELOT LAKE
                                                                             6                                                     HOLDINGS, LLC; CALIFORNIA PLACE
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                                                                                                                                   APARTMENT HOLDINGS, LLC;
                                                                             8                                                     COURTYARD AT CENTRAL PARK
                                                                                                                                   APARTMENTS, LLC; CREEKSIDE
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                                                                            11                                                     APARTMENTS, LP; WASATCH
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                                                                                                                                   ADVANTAGE GROUP, LLC; WASATCH
                                                                            12                                                     PREMIER PROPERTIES, LLC; WASATCH
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                                                                                                                                   QUAIL RUN GP, LLC; WASATCH POOL
                                          WASHINGTON, DC 20037




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                                                                                                                                   HOLDINGS III, LLC
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                                                                                            OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 4
